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                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

IN RE:
COLEMAN A GREEN                                          Case No. 22-13242-mdc
       Debtor
                                                         Chapter 13
Wells Fargo Bank, National Association as Trustee
for Soundview Home Loan Trust 2007-OPT2,
Asset-Backed Certificates, Series 2007-OPT2,
       Movant

vs.
COLEMAN A GREEN
    Respondent                                           11 U.S.C. §362


                        NOTICE OF MOTION, RESPONSE DEADLINE
                                 AND HEARING DATE

      Wells Fargo Bank, National Association as Trustee for Soundview Home Loan Trust
2007-OPT2, Asset-Backed Certificates, Series 2007-OPT2 (hereinafter “Movant”) has filed a
Motion for Relief from the Automatic Stay with the Court.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult an attorney.)

        1.      If you do not want the Court to grant relief sought in the motion or if you want the
Court to consider your views on the motion, then on or before August 29, 2023 you or your attorney
must do all of the following:

               (a) file an answer explaining your position at:

                       Clerk's Office, U.S. Bankruptcy Court
                       Eastern District of Pennsylvania
                       Robert N.C. Nix, Sr. Federal Courthouse
                       900 Market Street, Suite 400
                       Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and
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               (b) mail a copy to the Movant’s attorney:

                       Brock and Scott, PLLC
                       3825 Forrestgate Drive
                       Winston Salem, NC 27103

       2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the Court may enter an Order granting the relief requested in the motion.

       3.     A hearing on the motion is scheduled to be held before the Honorable Magdeline D.
Coleman on September 5, 2023 at 10:30 AM, in Courtroom #2, United States Bankruptcy Court,
Robert N.C. Nix, Sr. Federal Courthouse, 900 Market Street, Philadelphia, PA 19107.

       4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorneys named in paragraph 1(b).

        5.     You may contact the Bankruptcy Clerk’s office in Philadelphia at (215) 408-2800 to
find out whether the hearing has been cancelled because no one filed an answer.


August 4, 2023
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                IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

IN RE:
COLEMAN A GREEN                                       Case No. 22-13242-mdc
       Debtor
                                                      Chapter 13
Wells Fargo Bank, National Association as Trustee
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       Movant

vs.
COLEMAN A GREEN
    Respondent                                        11 U.S.C. §362


                                CERTIFICATE OF SERVICE

I hereby certify that service upon all interested parties, indicated below was made by sending
true and correct copies of the Notice of Motion and Motion for Relief from the Automatic Stay at
the addresses shown below or on the attached list on August 4, 2023.

The types of service made on the parties were: Electronic Notification and First Class Mail.

Service by First Class Mail

COLEMAN A GREEN
1113 STEWART PLACE
PHILADELPHIA, PA 19116

Service by Electronic Notification

BRAD J. SADEK
Sadek and Cooper
1500 JFK Boulevard
Ste 220
Philadelphia, PA 19102
brad@sadeklaw.com

KENNETH E WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107
ecfemails@ph13trustee.com
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United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107
USTPRegion03.PH.ECF@usdoj.gov


If more than one method of service was employed, this certificate of service groups the parties
by the type of service. For example, the names and addresses of parties served by electronic
notice will be listed under the heading “Service by Electronic Notification” and those served by
mail will be listed under the heading: Service by First Class Mail.

This is the 4th day of August, 2023.

                                             /s/Andrew Spivack
                                             Andrew Spivack, PA Bar No. 84439
                                             Matt Fissel, PA Bar No. 314567
                                             Mario Hanyon, PA Bar No. 203993
                                             Ryan Starks, PA Bar No. 330002
                                             Jay Jones, PA Bar No. 86657
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
                                             3825 Forrestgate Drive
                                             Winston Salem, NC 27103
                                             Telephone: (844) 856-6646
                                             Facsimile: (704) 369-0760
                                             E-Mail: PABKR@brockandscott.com
